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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

   WILLINE BRYANT a/k/a WILLINE GRACIA
   and MAX GRACIA SR., as
   Co-Personal Representatives of
   the Estate of MAX GRACIA JR., II,

   Plaintiffs,                           CASE NO: 6:17-CV-1423-ORL-31-KRS

   v.

   ORANGE COUNTY, FLORIDA,
   ROBERT J. BUCK, III,
   MARYANNE EVANS,
   KAREN CLAIRMONT,
   ELSA GALLOZA-GONZALEZ, and
   LYNN MARIE HARTER,

   Defendants.
    __________________________________________/

                    PLAINTIFFS’ SECOND AMENDED COMPLAINT
                          AND DEMAND FOR JURY TRIAL

           COME NOW, WILLINE BRYANT a/k/a WILLINE GRACIA and MAX

   GRACIA SR. ("Plaintiffs"), as Co-Personal Representatives of the Estate of MAX

   GRACIA JR., II ("Gracia or Decedent"), by and through their undersigned counsel, and

   hereby file, pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure,1 this Second

   Amended Complaint against ORANGE COUNTY, FLORIDA; ROBERT J. BUCK, III;

   MARYANNE EVANS; KAREN CLAIRMONT; ELSA GALLOZA-GONZALEZ; and

   LYNN MARIE HARTER (collectively "Defendants" or, with the exclusion of ORANGE

   COUNTY, “Individual Defendants”) and respectfully state as follows:



   1
      The amendment of Count I against ORANGE COUNTY is by leave of Court (Doc. 44, p. 17)
   and the amendment to include a demand for punitive damages is upon the written consent of all
   Individual Defendants.
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                                       INTRODUCTION

            1.    Plaintiffs bring this civil rights action to redress the deprivation of rights,

   privileges and immunities secured to Decedent by the Due Process Clause of the Fourteenth

   Amendment of the United States Constitution and actionable through Title 42 U.S.C.

   Section 1983, along with the related action for wrongful death under applicable state law.

                                           PARTIES

           2.     Plaintiffs, WILLINE BRYANT a/k/a WILLINE GRACIA (mother) and

   MAX GRACIA SR. (father) are the biological parents of Decedent, who was 22 years of

   age at the time of his death, and were duly appointed Co-Personal Representatives of the

   ESTATE OF MAX GRACIA JR., II, by the General Sessions Court, Probate Division of

   Orange County, Florida on August 17, 2016, File No. 2015-CP-2511.

           3.     Defendant ORANGE COUNTY, FLORIDA (“ORANGE COUNTY”) is a

   municipal corporation and government entity located in Central Florida, in the Middle

   District of Florida, operating by virtue of the laws of the State of Florida and was

   responsible for the care, custody, health and well-being of Gracia during his custody and

   confinement at Orange County Corrections.

           4.    At all times material, ORANGE COUNTY maintained, operated and

   administered the jail facility known as Orange County Corrections (“OCC”). ORANGE

   COUNTY failed to institute and provide appropriate policies and training to regulate the

   conduct of its medical personnel at OCC with regard to inmates or pretrial detainees who

   were in obvious medical decline. Even in the wake of documented prior instances of death

   and exacerbated injury arising from a lack of adequate training with respect to detainees in

   obvious medical decline as more fully set forth in Count I, ORANGE COUNTY

   consciously failed to take remedial action until after the tragic and avoidable death of
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   Decedent. ORANGE COUNTY’s conscious failure to provide better training to OCC’s

   medical staff in dealing with detainees in medical decline therefore became the custom or

   practice of ORANGE COUNTY and contributed to the establishment of a “culture of

   neglect” amounting to deliberate indifference to the health and safety of detainees,

   including Gracia.

           5.     As used in this Second Amended Complaint, “deliberate indifference to the

   health and safety of Decedent” means that each of the Individual Defendants named herein

   (a) had subjective knowledge of a risk of serious harm to Gracia that actually existed based

   upon his known medical condition; (b) acted or failed to act in disregard of said risk; (c)

   by conduct or omissions that amount to more than negligence or even gross negligence. A

   substantial and inordinate delay in treatment can satisfy the third prong, even in the absence

   of any intent by the provider to cause the injury, and can be actionable under 42 U.S.C.

   1983 where such delay in treating a known risk of serious harm proximately causes the

   injury. In this case, the deliberate indifference by the Individual Defendants, as more fully

   set forth elsewhere in this Second Amended Complaint, to the known risk of harm to Gracia

   proximately caused his death.

             6.   At all times material, ORANGE COUNTY maintained, operated and

   administered OCC’s Health Services Department known as Corrections Health Services

   (hereinafter “CHS”) headed by ROBERT BUCK, III, M.D. ("BUCK"). ORANGE

   COUNTY failed to institute or provide appropriate training and procedures to regulate the

   conduct of medical personnel at OCC to ensure that detainees in obvious medical decline

   be given proper attention and medical care.




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             7.    ORANGE COUNTY was and is responsible for the operation of OCC/CHS

   including, but not limited to the following:

                  i.      establishing policies and procedures to regulate the conduct of
                          employees of OCC/CHS and enforcing same, including providing
                          adequate training to its medical staff in dealing with detainees in
                          obvious medical decline;
                  ii.     establishing the appropriate budget for OCC/CHS;
                  iii.    approving specific expenses for OCC/CHS, including personnel
                          training, staffing and medical equipment and testing expenses; and
                  iv.     ensuring that employees of OCC/CHS obeyed the laws of the United
                          States and the State of Florida.

            8.     ORANGE COUNTY, through OCC/CHS, had a duty to ensure that the

   conditions of confinement and the health and safety of persons incarcerated at OCC/CHS,

   including Gracia, are in compliance with the Fourteenth Amendment of the United States

   Constitution and the laws of the United States and the State of Florida.

           9.      ORANGE COUNTY is the local governmental entity that was ultimately

   responsible for the care, custody, health and well-being of Gracia when he presented to the

   jail and was held in custody.

           10.     Under 42 U.S.C. 1983, as more fully set forth in Count I below, ORANGE

   COUNTY is liable by virtue of its negligent and inadequate training of its medical staff

   where ORANGE COUNTY’s deliberate and conscious failure to properly train its medical

   employees in dealing with inmates and detainees in obvious physical or mental decline

   evidenced a deliberate indifference to the rights of its inmates and detainees such that the

   conscious failure to adequately train can properly be thought of as an agency or municipal

   custom or policy that is actionable under section 1983. As further set forth under Count I,

   ORANGE COUNTY, based on prior similar incidents, knew of the need to train and

   or/supervise its medical staff in dealing with inmates and detainees in obvious physical or



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   mental decline yet made a conscious choice not to provide such necessary training or

   supervision, all of which proximately caused the tragic and avoidable death of Decedent.

          11.     Under 42 U.S.C. 1983, as more fully set forth in Counts II through VI

   below, said Individual Defendants are individually liable to the extent their acts and

   omissions constituted a deliberate indifference to the health and safety of Decedent. Under

   applicable state law, as more fully set forth in Count VII below, ORANGE COUNTY is

   liable for the actions and omissions of its medical staff employees which constituted

   medical malpractice under the doctrine of respondeat superior.

          12.     Defendant BUCK (“BUCK”), a licensed physician, at all times material

   served as the Medical Director of Corrections Health Services Department (CHS) which

   provide healthcare to inmates and detainees at OCC/CHS. At all times material hereto,

   BUCK acted under color of state law in the course and scope of his employment or agency

   with ORANGE COUNTY. Given his directorship of the Corrections Health Services

   Department, BUCK also acted as a policy maker for CHS and ORANGE COUNTY in

   supervising and training members of the medical staff.

          13.     Defendant MARYANNE EVANS ("EVANS") was at all times material an

   agent or employee of ORANGE COUNTY who worked at OCC/CHS as an Advanced

   Registered Nurse Practitioner. At all times material hereto, EVANS was responsible for

   providing medical and nursing care to inmates and detainees at OCC/CHS and acted under

   color of state law in the course and scope of her employment with ORANGE COUNTY.

          14.     Defendant KAREN CLAIRMONT (“CLAIRMONT”) was at all times

   material an agent or employee of ORANGE COUNTY who worked at OCC/CHS as a

   licensed Registered Nurse. At all times material hereto, CLAIRMONT was responsible for



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   providing medical and nursing care to inmates and detainees at OCC/CHS and acted under

   color of law in the course and scope of her employment or agency with ORANGE

   COUNTY.

          15.     Defendant ELSA GALLOZA-GONZALEZ ("GONZALEZ") was at all

   times material an agent or employee of ORANGE COUNTY who worked at OCC/CHS as

   a licensed Registered Nurse. At all times material hereto, GONZALEZ was responsible for

   providing medical and nursing care to inmates and detainees at OCC/CHS and acted under

   color of state law in the course and scope of her employment with ORANGE COUNTY.

          16.     Defendant LYNN MARIE HARTER ("HARTER") was at all times

   material an agent or employee of ORANGE COUNTY who worked at OCC/CHS as a

   licensed Practical Nurse. At all times material hereto, HARTER was responsible for

   providing medical and nursing care to inmates and detainees at OCC/CHS and acted under

   color of state law in the course and scope of her employment with ORANGE COUNTY.

           17.    At all times material, Gracia was a pretrial detainee in custody at OCC/CHS

   under the care and control of ORANGE COUNTY when he died in his jail cell on August

   10, 2015 as a result of the Defendants’ actions and omissions as more specifically set forth

   below. Gracia’s primary healthcare provider was BUCK, the only doctor who attended him

   at OCC, who was assisted by numerous members of his medical staff including the

   remaining Individual Defendants.

           18.    The potential beneficiaries of any recovery in this action and the

   relationship each to Decedent are: (1) WILINE BRYANT a/k/a WILINE GRACIA,

   Decedent's natural mother; (2) MAX GRACIA SR., Decedent's natural father; and (3) THE

   ESTATE OF MAX GRACIA JR.



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                                  JURISDICTION AND VENUE

           19.    Subject matter jurisdiction is proper under 28 U.S.C. 1331 in that the action

   herein arises under a federal statute, 42 U.S.C. 1983. Venue is proper in this district under

   28 U.S.C. 1391 because Defendants are located or reside in the Middle District of Florida.

   Venue is also proper in this district where all of the events giving rise to the claim occurred.

           20.     All conditions precedent to the filing of this action, including compliance

   with Fla. Stat. Sections 766.106, 766.203, and 768.28(6), have been performed or have

   been waived.

                                  FACTUAL BACKGROUND

           21.     Gracia was admitted to the OCC/CHS on August 6, 2015 after being treated

   at the Orlando Regional Medical Center for dog bites to his legs and hands incurred during

   his arrest earlier that day.

           22.     Gracia was initially assigned to the Infirmary as his housing unit due to his

   injuries. BUCK also evaluated Gracia around this same time for his admission to the

   Infirmary. BUCK noted that Gracia, who was known by the entire medical staff at OCC to

   have been HIV positive, had multiple dog bites with severe flesh involvement. The

   diagnoses included multiple dog bites. It is noted that Gracia was “put back on his Depakote

   for seizures." Other medications ordered include Augmentin, an antibiotic; ibuprofen, a

   pain medication; and Tylenol #3, a pain medication.

           23.     BUCK documented that OCC/CHS nursing staff needed to verify Gracia’s

   Atripla to see if he had been compliant in the community. If he was, the Atripla was to be

   ordered. There is no documentation in the health record that this verification occurred, and




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   the Atripla was never ordered for Gracia, although it was known he was HIV positive.

   BUCK never saw or inquired about Gracia again.

          24.    On August 7, 2015 at 1708 hours, EVANS, the most senior credentialed

   non-physician provider treating Gracia, completed a Clinical List Update and changed the

   documentation of Gracia’s problem in the health record to include the location of the

   wounds--left posterior thigh and calf--and added a new order of wound care. There is no

   physical assessment noted and no indication that EVANS actually saw Gracia.

          25.    On August 7, 2015 at 1720 hours, GONZALEZ completed a Nursing

   Treatments note for wound care. No vital signs were obtained at that time. Gracia’s wounds

   were cleaned and dressed. It is noted that the wound was reddened with scant

   serosanguineous drainage present.

         26.     On August 8, 2015 at 0707 hours, CLAIRMONT documented on a Nursing

   Progress Note that she saw Gracia on August 7, 2015 and he was tolerating the medication

   without complaint. There was no recordation on the Nursing Note to indicate the time of

   the nursing evaluation. Notably however, no vital signs were obtained and no physical

   assessment was done.

          27.    On August 8, 2015 at 1138 hours, GONZALEZ completed a Nursing

   Progress Note about Gracia that documented that he had removed his dressing to take a

   shower prior to the nurse coming to do his wound care. Again, no vital signs were taken

   and no physical assessment was done. Patient education included the risk of infection and

   to increase his fluid intake. Gracia had no complaints per the Nursing Note. GONZALEZ’

   nursing plan was to continue to monitor Gracia.




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          28.     On August 8, 2015 at 1659 hours, GONZALEZ completed a Nursing

   Treatment Note about Gracia’s daily wound care. She noted that the wound on his left leg

   was reddened with scant serosanguineous drainage. The dressing was changed and

   GONZALEZ noted that there were no signs or symptoms of infection.

           29.    On August 8, 2015 at 1713 hours, GONZALEZ documented that Gracia

   complained of vomiting twice. Again, no physical assessment was conducted and no vital

   signs were obtained. GONZALEZ notified a provider and odansetron was ordered and

   given. GONZALEZ documented that she would continue to monitor Gracia. Nurse

   Practitioner EVANS co-signed this order on August 9, 2015 at 1700 hours.

           30.    On August 9, 2015 CLAIRMONT documented that Gracia’s dressing of his

   left posterior thigh wound was changed at 0635 hours. She documented that the wound was

   reddened with a large amount of bloody drainage. The technique used was non-sterile, and

   the procedure was poorly tolerated by Gracia.

          31.     On August 9, 2015 at 0638 hours, CLAIRMONT completed a Nursing

   Progress Note that indicated Gracia was doing well with a clean, dry and intact dressing.

   Once again, there were no vital signs obtained and no physical assessment was done. This

   note is verbatim the same note that CLAIRMONT wrote on August 7, 2015 at 0707 hours.

          32.     That same day, August 9th, at 1029 hours, GONZALEZ completed a

   Nursing Progress Note in which she documented that Gracia complained of weakness and

   dizziness. Vital signs were obtained that included an accelerated heart rate of 131

   (tachycardia), a blood pressure of 111/56, respirations of 22, oxygen saturation of 98%,

   and a temperature of 97.4 °F. This was the first time that vital signs were obtained in the

   previous 55 hours. It was also the last time vital signs were obtained before Gracia was



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    found dead in his cell in the early morning hours of August 10, 2015. Notwithstanding his

    abnormally high heartbeat, no physical assessment was done. GONZALEZ notified

    EVANS, who ordered an increased fluid intake. GONZALEZ stated that extra fluid was

    given and that she would “continue to monitor Gracia.”

           33.     Later that same day, August 9th, at 2154 hours, HARTER documented in a

    Nursing Note that Gracia refused to get up for his evening medications. She unilaterally

    documented that a "refusal" was done, without any signed refusal by the patient, as though

    Garcia was being intentionally non-compliant as opposed to simply being too weak to get

    off his bed and take his medications, as was in fact the case. No vital signs were obtained

    by HARTER, even though his vital signs obtained by another nurse eleven (11) hours

    earlier on August 9th were clearly problematic and indicative of tachycardia.

           34.     Incredulously, nothing whatsoever was done by HARTER to further

    evaluate Gracia’s medical status, provide care and treatment or elevate him to a higher

    level of care at an outside medical facility. It was clear, as was obvious to HARTER and

    the medical staff at OCC/CHS at the time of her observation, that Gracia was declining

    rapidly. This conduct or failure to act by HARTER both deviated from the appropriate

    standard of care and evinced a deliberate indifference to the safety and health of Decedent.

    Rather than act as his healthcare provider, HARTER, later joined by CLAIRMONT, chose

    to adopt the role of his adversary and refused or deliberately failed to provide any further

    medical attention until he was found eight (8) hours later in his cell with no detectable

    pulse or respiration by a corrections officer during breakfast service.

           35.     Shortly before midnight on August 9, 2015, a correctional officer and two

    supervisors came to the cell which housed Gracia to effect his transfer from the infirmary



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    to a general population housing unit, 3B. According to reports by both Officer Vargas and

    his tour supervisor, Cpl. Garrett, Garcia was lying on the floor groaning in a lethargic

    manner and appeared unresponsive to their commands. CLAIRMONT was present for this

    interface. She rendered no medical assistance or evaluation whatsoever. Instead, she

    advised the officers that Gracia was “faking or exaggerating his medical condition and

    inability to get up.” Eventually, with the help of two inmate workers, Officer Vargas was

    able to move Gracia to an adjacent cell (#19) in the Medical 1B unit “where a recording

    camera [had been] installed in order to better ascertain the validity of his proclaimed

    illnesses,” according to the report filed by Vargas. This occurred at approximately 2316

    hours on August 9th without any force or resistance from the lethargic Gracia who was

    noted as being “compliant” to whatever extent his physical abilities permitted.

           36.     Even after the move, neither CLAIRMONT nor any other medical staff

    member made any attempt to assess or evaluate the medical condition of Gracia. At that

    point a decision had been made to file disciplinary charges against Gracia and apparently

    terminate all medical assistance. Approximately three hours later, on August 10th at 0258

    hours, a corrections investigator attempted to interrogate Gracia in cell #19 regarding this

    matter but Gracia was unable to reply. It is not known whether Gracia was dead or alive

    at that point and no one attempted to ascertain his condition. It is not known whether this

    development was reported to medical staff members who presumably were monitoring his

    condition through the camera in his cell. ORANGE COUNTY has not yet provided a copy

    of the video to undersigned counsel for their inspection. Nonetheless, during the five hours

    Gracia was in cell #19 being monitored by camera, neither CLAIRMONT nor any other




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    medical staff member made any attempt to attend or assess their medical patient until it

    later was reported at 0511 hours on August 10th that Gracia was no longer breathing.

           37.     On August 10, 2015 at 0313 hours, CLAIRMONT retrospectively

    documented that at 2100 hours on August 9, 2015, Gracia was observed twisting himself

    and moaning loudly on the bed. He stated that he “can’t do it” and slid to the floor. Again,

    there is no explanation in the medical records as to why no care or treatment was rendered

    to Gracia in those fateful eight (8) hours.

           38.     Less than 25 minutes later, at 0335 hours on August 10th, CLAIRMONT

    retrospectively created a second document, a Nursing Progress Note dated August 9, 2015

    regarding Gracia’s alleged behavior—refusing to follow corrections officers’ orders

    regarding a pending move to 3B— which resulted in the filing of a “DR” (Disciplinary

    Report) against Gracia. She claimed that Gracia continued to lie on the floor on his back,

    "refusing all treatment." Upon information and belief, these belatedly documented

    "observations" and false characterizations by the medical staff at OCC/CHS were part of a

    cover-up of the total lack of care rendered to Gracia during the critical hours preceding his

    otherwise avoidable demise. It is both notable and curious, to say the least, that while

    CLAIRMONT was generating these retrospective notes at 3 o'clock in the morning on

    August 10th, she could have been attending or looking in on her patient whose condition

    had obviously declined dramatically in the preceding several hours.

           39.     Later that same day, August 10th, at 0802 hours, CLAIRMONT created yet

    another retrospective Nursing Progress Note to the effect that an officer had notified her

    earlier, at approximately 0515 hours that Gracia was not breathing. According to the Note,

    when she arrived, Gracia was lying supine in the bed without a pulse or respiration.



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    Cardiopulmonary resuscitation efforts were initiated and continued until EMS arrived and

    assumed care of Gracia. She documented that Gracia was transported by EMS at 0548

    hours on August 10, 2015. Upon information and belief, Gracia was already dead in his

    prison cell before he was even transported by EMS.

           40.     Gracia was brought to the Orlando Regional Medical Center where he was

    pronounced deceased on August 10, 2015 at 0609 hours. Although CLAIRMONT was

    involved in the unsuccessful CPR efforts, she did not prepare any contemporaneous reports

    or nursing notes until more than two hours had lapsed.

           41.     On August 10, 2015 at approximately 1100 hours, an autopsy was

    performed by Dr. Gary Lee Utz, Chief Medical Examiner in the District Nine Office of the

    Medical Examiner. The autopsy report stated that the cause of death was septic shock

    complicating infected dog bite wounds of lower extremity with human immunodeficiency

    virus infection as a contributory factor. The manner of death was listed as a "homicide"

    due to his arrest and incarceration.

           42.     The care and treatment or lack thereof provided by CLAIRMONT to

    Decedent from August 8, 2015 to August 10, 2015 while he was incarcerated at the jail

    deviated from the acceptable medical and nursing standard of care, and rose to the level of

    deliberate indifference given what CLAIRMONT knew of Gracia's declining medical

    condition from August 8th at approximately 5 PM when he started vomiting through the

    early morning hours of August 10th when he was found dead in his cell after being totally

    unattended by medical staff for nearly eight (8) hours during which time he was under the

    direct care of CLAIRMONT.




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           43.     When CLAIRMONT returned for her shift on the evening of August 9,

    2015, Gracia’s condition had worsened to the point that he was writhing on the bed and

    refusing all assistance and medication. Instead of contacting a more credentialed provider,

    she chose to ignore his obvious and serious health condition. CLAIRMONT did not attempt

    to reevaluate Gracia or even check on his condition at any time during her shift, even

    though she knew he was immunocompromised and at serious risk for infection. She should

    have contacted a more credentialed provider immediately about his deteriorating condition;

    she should have reviewed his health records and noted that the last vital signs obtained

    were patently abnormal with no contemporaneous follow-up and informed a more

    credentialed provider of those abnormal vital signs as well. Had CLAIRMONT taken any

    of those steps, Garcia would have been sent immediately to the hospital. Instead, he was

    found with no pulse or respiration eight (8) hours later in his cell. CLAIRMONT’s

    inexplicable failure to act in the face of known risk rose to the level of deliberate

    indifference when she chose to ignore the clearly deteriorating condition of Gracia.

           44.     GONZALEZ deviated from the appropriate standard of care by failing to

    properly monitor and/or identify the deterioration in Gracia’s physical and mental status;

    by failing to contact a provider regarding her observations; and by failing to obtain vital

    signs on August 7, 2015 and August 8, 2015. In addition, on August 8th, Gracia complained

    of vomiting, and still GONZALEZ did not obtain vital signs. She also failed to properly

    assess Gracia for his complaint. GONZALEZ did not re-evaluate Gracia after she

    medicated him for vomiting.

           45.     On the morning of August 9, 2015 at 1029 hours, GONZALEZ obtained

    abnormal vital signs for Gracia but failed to conduct a proper physical assessment at that



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    time. While she did contact a more senior and credentialed provider, she failed to follow-

    up with Gracia throughout the remainder of her shift to ascertain whether his condition

    changed. This failure rose to the level of deliberate indifference as GONZALEZ knew that

    Gracia was immunocompromised and was at significant risk for infection, and had a

    dangerously rapid heart rate that would have serious consequences if allowed to continue,

    and she did nothing. She should have had gone back to monitor Gracia’s condition as she

    documented in her nursing plan that she would do and confirm Gracia’s worsening

    condition, rather than simply ignoring him. Instead, Gracia was not seen until more than

    ten (10) hours later, at approximately 2100 hours that evening, at which time his condition

    had deteriorated such that he was twisting and moaning in bed and refusing all assistance.

            46.    EVANS deviated from the standard of care for an Advanced Registered

    Nurse Practitioner when she failed to evaluate Gracia when notified that he was vomiting,

    and then again the next day when he had a heart rate of 131 and respirations of 22. She

    failed to document her plan of care for Gracia when she ordered anti-emetic medication on

    August 8, 2105. On August 9, 2015 at 0500 hours when she co-signed the medication order,

    EVANS failed to review Gracia’s chart and failed to act upon information in the chart that

    noted his abnormal vital signs with no re-evaluation. She should have immediately

    evaluated Gracia and sent him to the hospital for further evaluation and care. Instead,

    EVANS failed to evaluate Gracia, and he was found approximately 12 hours later in his

    jail cell with no pulse and no respiration. Upon information and belief, EVANS was

    responsible for discharging Gracia from the infirmary at some unknown point in time

    without any medical evaluation and directing that he be sent to the general population

    where the level of care would be significantly compromised, which was one of the



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    specifications against her resulting in issuance of a written reprimand in the aftermath of

    Gracia’s death.

           47.     These acts and omissions by EVANS constituted a deliberate indifference

    to the health and safety of Gracia. EVANS was later terminated in June 2016 after being

    overheard by a corrections officer and another detainee in responding to one of her patients

    who had been asking about follow-up care regarding his injured foot as follows: “I’m so

    tired of that damn foot. Fuck you and that foot, you piece of shit. I hope you die in jail and

    never get out again.”

           48.     At all times during Gracia’s incarceration, ORANGE COUNTY, acting

    through the Orange County Corrections Health Services (CHS), under the directorship of

    BUCK, was in charge of the healthcare program at OCC/CHS. As the Medical Director for

    CHS and ORANGE COUNTY, BUCK was both a supervisor and a policy maker

    responsible to ensure that the care provided to the individuals at OCC/CHS was appropriate

    and timely, and provided by staff who were properly trained. BUCK and CHS failed in

    these responsibilities when the care rendered to Decedent fell significantly below the

    standard of care and rose to the level of an agency-wide deliberate indifference to his

    serious medical condition. These failures are the legal responsibility of ORANGE

    COUNTY for the reasons set forth in paragraphs 49 through 53 below and in Count I.

           49.     ORANGE COUNTY, through CHS and BUCK, failed to properly train its

    medical staff in the assessment, identification and treatment of inmates and pretrial

    detainees in decline with patently observable serious medical or psychological conditions.

    A complete assessment by nursing staff or by a more senior and credentialed provider was

    not conducted on Gracia when he was complaining of vomiting and dizziness, when his



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    vital signs deviated significantly from normal, indicative of both tachycardia and the onset

    of sepsis, and when he could not even lift himself off his bed or get off the floor, all of

    which clearly indicated that Gracia’s condition was worsening.

           50.     ORANGE COUNTY, through CHS and BUCK, failed to appropriately

    supervise medical staff to ensure that they were adhering to the applicable standard of care

    in the medical community. The tragic and avoidable death of Decedent was the proximate

    result of ORANGE COUNTY’s conscious decision to withhold adequate training and

    supervision of members of its medical staff at OCC despite knowledge that such better

    training and supervision was necessary in view of several prior incidents which caused the

    deaths of other inmates or detainees over a course of many years at the jail facility as further

    developed in Count I.

           51.     Defendants CLAIRMONT, GONZALEZ, EVANS and HARTER, along

    with others who were on duty during Gracia's incarceration, due in part to a lack of training

    and supervision by OCC/CHS, consistently failed to monitor his vital signs and

    periodically assess and evaluate him, even though they knew he was immunocompromised

    and was at serious risk for infection due to his wounds.

           52.     ORANGE COUNTY, through CHS and BUCK, failed to monitor the

    medication practices at the OCC/CHS, and as a result, the medication Gracia needed for

    his life-threatening chronic disease, Atripla, was never verified and ordered. If CHS had

    been conducting appropriate monitoring of their staff through a CQI program and peer

    review, they would have been aware that their nurses were not conducting appropriate

    assessments and interventions for their patients. CHS would have been aware that nursing

    staff were not verifying medication appropriately. If CHS and BUCK had been monitoring



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    the care rendered by their providers, they would have discovered that EVANS was not

    evaluating patients whose clinical status was worsening, was ordering medications and

    other treatments without evaluating the patient, was discharging infirmary patients to the

    general population with no documented assessment and was not reviewing the patients’

    charts before signing off on verbal orders.

            53.     CHS and BUCK should have addressed these and other deficiencies through

    more adequate education and training long before Gracia was a patient at OCC based on

    known prior similar incidents which had resulted in either death or exacerbation of injury

    of other inmates or detainees in the past as set forth in paragraph 61 below. Instead,

    ORANGE COUNTY, acting through CHS and BUCK, consciously chose to ignore these

    historically known educational and training deficiencies. Had adequate training been

    provided to the medical staff at OCC, Gracia would have received appropriate and

    thorough care, his obviously worsening condition would have been confronted sooner, and

    he would have been appropriately sent to a higher level of care facility before he was found

    dead in his jail cell.

                                         COUNT I
                     42 U.S.C. 1983 CLAIM AS AGAINST ORANGE COUNTY

            54.     Plaintiffs hereby incorporate by reference paragraphs 1-53 of this Second

    Amended Complaint as though more fully set forth herein.

            55.     At all times relevant herein, Defendant ORANGE COUNTY, acting

    institutionally and through the Individual Defendants, was performing a traditional and

    discretionary, as opposed to ministerial, local governmental function in operating a

    correctional facility and was a state actor. All the actions and omissions alleged herein were

    performed under color of state law.


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            56.    At all times relevant to the events giving rise to this cause of action, Gracia

    was a pretrial detainee at OCC/CHS.

            57.    ORANGE COUNTY was responsible for Gracia’s well-being while he was

    in custody at the OCC/CHS since he did not have the ability to obtain medical treatment

    on his own or provide for his own well-being.

            58.    ORANGE COUNTY had a constitutional duty under the Fourteenth

    Amendment of United States Constitution to provide Gracia with the basic necessities of

    life, including, but not limited to, food, shelter, observation and proper medical care.

            59.    ORANGE COUNTY is liable under 42 U.S.C. 1983, as the primary policy

    maker, for tolerating and not correcting, a custom or practice to exist of deliberate

    indifference to the serious medical needs of inmates or detainees in obvious physical or

    mental decline. This laxity created a “culture of neglect” as an implied custom or policy of

    the agency. ORANGE COUNTY’s knowledge of prior similar incidents, as identified in

    paragraph 61 below, which resulted in the deaths of inmates or detainees at OCC under

    similar circumstances and ORANGE COUNTY’s conscious failure to properly train its

    medical staff to avoid repeated, unnecessary deaths of inmates or detainees in medical or

    mental decline manifest a deliberate indifference on the part of ORANGE COUNTY to the

    health and safety of those under its care and custody, including Decedent.

           60.    ORANGE COUNTY routinely acquiesced to its medical staff not properly

    doing rounds, not properly documenting a detainee’s medical conditions, not properly

    supervising and administering medical orders; all of which amounted to a policy of

    deliberate indifference to the health and safety of detainees under its care, including

    Decedent. As set forth below, other similar instances of harm have previously occurred



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    that had put ORANGE COUNTY on notice of the need for more adequate training of its

    medical staff when dealing with inmates or detainees in medical or mental decline, which

    ORANGE COUNTY consciously failed to implement. Said failure by ORANGE

    COUNTY to properly train OCC/CHS’ medical staff resulted in the deliberate indifference

    on the part of the Individual Defendants in failing to attend or treat Decedent, which

    proximately resulted in his death.

             61.   Further investigative efforts by undersigned counsel subsequent to the filing

    of the previous operative complaint revealed a significant prior history of deliberate

    indifference by the medical staff at OCC which resulted in the death or exacerbation of

    injury of several inmates or pretrial detainees at OCC over the past nearly 30 years who

    were in obvious physical or mental decline. Consider the following court filings:

            (a) On December 28, 1997, Martin Romero Torres, a detainee at Orange County

    Corrections with known physical and mental impairments, was found dead in his cell after

    having been left unattended for a period of hours. According to the complaint filed in the

    United States District Court for the Middle District of Florida, Orlando Division, when

    Torres’ body was discovered, it was in full rigor mortis. The complaint (Doc. 1, pp. 21-23)

    alleged a violation of 42 U.S.C. 1983 against numerous members of the medical staff at

    the jail facility as well as Orange County itself for employing a custom or policy of

    violating standard operational policies and procedures which resulted in deliberate

    indifference to decedent’s serious medical and psychiatric needs. See Torres v. Orange

    County, Florida, et al. Case No. 6:99-cv-01662-ACC.

            (b) On October 5, 2000, Michael Ray Williams, a detainee at Orange County

    Corrections, was found dead in his cell after being denied proper medical attention and



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    treatment for his known asthmatic condition about which he made requests for medical

    treatment to no avail. According to the complaint (Doc. 1) filed in the United States District

    Court for the Middle District of Florida, Orlando Division, cries for help from fellow

    detainees went unheeded as Williams, gasping for air, slipped into unconsciousness and

    ultimate death. See Estate of Williams v. Orange County, Florida, et al. Case No. 6:02-civ-

    00788-ACC.

            (c) From January 22 through January 31, 1998, Albert Ponds, an inmate at Orange

    County Corrections known to be HIV positive, complained about severe diarrhea,

    abdominal pain and bleeding hemorrhoids but was not seen by a doctor at the jail facility

    until January 26, 1998, at which time a cursory and inadequate assessment was performed.

    According to the complaint (Doc. 2), which was originally filed in state court and then

    removed to United States District Court for the Middle District of Florida, Orlando

    Division, Pond’s situation progressed to the point where he required emergency transfer to

    Florida Hospital on January 31, 1998. Because of the delay in assessment and treatment at

    the jail facility, Pond’s condition worsened to the point where he required extensive

    hospitalization and three surgical procedures resulting in permanent disfigurement and

    other injuries. (Doc. 2, pp. 6-13). See Ponds v. Orange County, Florida, et al. Case No.

    6:00-cv-01202-PCF.

            (d) On December 30, 1989, Ricky Richardson, an HIV positive inmate at Orange

    County Corrections, was found unconscious in his cell, apparently as a result of heat

    exhaustion after having been tied up and strapped between two mattresses for alleged

    security reasons. He was rushed to Orlando Regional Medical Center where he was

    pronounced dead within the hour. Richardson was running a potentially fatal 108° fever at



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    the time of his death and had been denied access to medical care until he became

    unconscious. See Richardson v. Orange County, Florida, et al. Case No. 6:90-cv-00160-

    PCF.

           62.     A review of certain Rule 26 materials provided subsequent to the filing of

    the previous operative complaint in this case revealed a long overdue recognition by

    ORANGE COUNTY regarding the lack of adequate training of CHS’s medical staff, for

    whom BUCK, as Medical Director of CHS, was a policy maker for ORANGE COUNTY

    with respect to the training of medical staff dealing with inmates or detainees in obvious

    physical or mental decline. The new training and protocol requirements, outlined below,

    were only put into effect on November 30, 2015, or more than 3 months after the tragic

    and avoidable death of Decedent, notwithstanding the known prior incidents outlined in

    subparagraphs 61(a) through (d) which go back many years without any corrective action

    having been taken by ORANGE COUNTY until after Gracia’s needless death.

           63.     On November 30, 2015, RN Jane Jenkins, acting at the behest of BUCK,

    made a series of rule changes which now require that any inmate or detainee must have his

    or her vital signs taken at the time of any non-emergent sick call encounter and, if abnormal,

    every day thereafter until stable or referred to another level of care. While under emergency

    care, even if the vital signs are normal, vital signs should still be retaken every hour

    thereafter while under emergency care; if abnormal, they should be retaken every 15

    minutes until stable or referred to another level of care. While in infirmary care, as was the

    case with Gracia, vital signs should be taken every four hours for the first 24 hours after

    admission to the infirmary and every six hours thereafter even if the patient is stable while

    in the infirmary. If abnormal while in infirmary care, as was the case with Gracia as of the



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    morning of August 9, 2015, vital signs must be taken every 30 minutes while in the

    infirmary until evaluated by a provider.

         64.       These guidelines are consistent with the applicable standard of care in the

    medical community. Were these guidelines and training in place in August 2015, as they

    should have been in light of the known prior incidents, Decedent would have had his vital

    signs taken during his first three days at the OCC infirmary (August 6 through August 9)

    at least 12 to 15 times. Instead, they were only taken twice: once upon admission on August

    6 and then again on August 9 at 1029 hours, at which time Decedent’s vital signs were

    considerably abnormal, including a rapid heartbeat of 131 bpm indicative of tachycardia,

    along with an elevated respiratory rate of 22, which is indicative of sepsis. At that point,

    under the new protocol which should have been in place given the known prior similar

    incidents as well as the applicable standard of care in the medical community, his vital

    signs would have been retaken that day every 30 minutes thereafter through 2316 hours

    when he was forcibly removed from cell #15 to cell #19 for camera monitoring to

    determine whether he was malingering or actually in decline. Were the new protocols and

    training in effect, Gracia would have had his vital signs taken every 30 minutes during

    those intervening 12 1/2 hours, meaning he would had his vitals taken an additional 25

    times. [Of course, in all likelihood, Gracia would have been transferred to an outside

    hospital well within that 12 1/2 hour period]. Instead, his vital signs were never taken even

    once and he was left isolated to die, unattended in cell #19 for more than five hours when,

    instead, he should have been referred to a higher level of care including outside

    hospitalization. The medical monitoring, including the taking of vital signs at appropriate

    intervals, that should have occurred would more likely than not have saved Decedent’s life.



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           65.     The new information and material set forth in paragraphs 61 through 64,

    supra, establish municipal liability under §1983 in two ways. First, that there was a

    unwritten custom or practice which was reflected in the known specific incidents leading

    to the deaths or exacerbated injuries identified in subparagraphs 61(a) through (d) which

    evinced “a widespread pattern of deliberate indifference” on the part of ORANGE

    COUNTY; and, second, and perhaps more importantly, that by virtue of the known prior

    incidents, “the municipality had notice of the need to train” its medical employees on how

    to treat inmates or detainees in obvious medical or mental decline and consciously failed

    to do so for a number of years until the tragic death of Decedent. Where the failure of a

    municipality to train its employees in a relevant respect evidences a deliberate indifference

    to the rights of its citizens, including inmates or detainees, (for example, as here, by

    consciously not heeding the lessons to be drawn from known prior incidents of medical

    neglect), such failure to train can fairly be said to represent a custom or policy of the

    municipality and, therefore, actionable under section 1983.

           66.     In the alternative, the nature of the responsibilities assumed by the state in

    caring for detainees in clearly manifested medical decline is such that the need for adequate

    training of jail medical personnel is obvious and does not require notice of prior incidents

    of harm. This is all the more the case where inadequately trained medical personnel might

    well be unaware of the appropriate balance between providing quality care to inmates or

    detainees in obvious medical decline in a timely manner and security concerns that arise in

    a corrections environment. Under such circumstances, it can be reasonably said that the

    failure of the municipality to act sua sponte is the causative agent in the ensuing injury and

    thus actionable under section 1983. Agency liability under section 1983 is all the more



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    properly found where the agency has been put on notice by prior similar incidents

    evidencing the need for better training and supervision of its medical staff, which the

    agency deliberately or consciously failed to provide, as occurred in this case.

             67.    ORANGE COUNTY, in view of its past history of deliberately ignoring the

    obvious need to properly train and supervise its medical staff employees regarding

    treatment to be afforded inmates and detainees in apparent medical or mental decline, is

    directly liable for the violation of Decedent's civil rights due to the following practices or

    customs of ORANGE COUNTY which were in effect at the time of this incident and which

    proximately caused Decedent's death:


                   i.      ORANGE COUNTY consciously failed to adequately and properly
                           train and educate their employees and agents with respect to the
                           proper evaluation and treatment of inmates suffering under
                           disabilities or conditions which require medical stabilization before
                           incarceration, monitoring persons with obvious medical needs in
                           rapid decline, transporting persons with obvious medical needs, and
                           handling persons with disabilities, with deliberate indifference to the
                           welfare of inmates, including Gracia;

                   ii.     ORANGE COUNTY consciously failed to adequately monitor and
                           evaluate the performance of their agents and employees with respect
                           to the proper evaluation of inmates suffering under disabilities or
                           conditions which require medical stabilization before incarceration,
                           monitoring persons with obvious medical needs in rapid decline,
                           transporting persons with obvious medical needs, and handling
                           persons with disabilities, with deliberate indifference to the welfare
                           of inmates, including Gracia; and

                   iii.    ORANGE COUNTY failed to properly fund and staff OCC and/or
                           CHS of ORANGE COUNTY, to ensure an appropriate amount of
                           licensed, trained and qualified medical professionals are present to
                           provide proper medical treatment to high-risk patients, with
                           deliberate indifference to the welfare of inmates, including Gracia.


           68.     ORANGE COUNTY purportedly reviewed the actions of its own employees

    from booking through the death of Decedent. In reviewing its own employees’ actions,
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    ORANGE COUNTY found that its employees failed to actually physically observe

    Decedent, take his vital signs or make a proper assessments at appropriate intervals

    consistent with the applicable standard of care. ORANGE COUNTY documented potential

    issues with respect to policy and training regarding observation of inmates and pretrial

    detainees and proper recording of medical observations, an issue which ORANGE

    COUNTY consciously avoided in the past despite the prior known incidents identified and

    subparagraphs 61 (a) through (d), supra. During this investigation, the nurses maintained

    that the facility was medically understaffed, presumably due to budgetary concerns, and

    that BUCK had an unwritten policy of allowing documentation to be minimized to twice a

    week unless there was a change in the patient's medical condition. The lack of adequate

    funding may have been responsible for ORANGE COUNTY’s failure to implement better

    training and supervision, including taking vital signs in much closer intervals than what

    occurred here, especially for those inmates or detainees, such as Gracia, who were in

    obvious medical decline. Lack of adequate financial resources, however, is not a

    recognized defense to any of the claims set forth in this Second Amended Complaint,

    including municipal section 1983 liability.

           69.     Notwithstanding the findings of its investigation, ORANGE COUNTY

    refused to significantly or meaningfully discipline any of its employees, including

    Individual Defendants BUCK, EVANS, CLAIRMONT, GONZALEZ and HARTER. The

    most severe discipline imposed on any of the Individual Defendants were written letters of

    reprimand to EVANS and GONZALEZ, both of whom were placed on paid administrative

    leave pending the outcome of the investigation, without any resulting loss of pay or status.

    CLAIRMONT was also placed on administrative leave, which was later made to be without



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    pay upon her refusal to cooperate in the investigation conducted by the Sheriff’s

    Department. In effect, these individuals, who were directly responsible for the death of

    Gracia, were given a paid vacation (other than as noted in the case of CLAIRMONT) and

    what amounted to no more than a slap on the wrist. CLAIRMONT voluntarily resigned

    from her employment on September 11, 2015, prior to the finalization of proceedings

    against her. BUCK was never the subject of any disciplinary action whatsoever.

    Accordingly, ORANGE COUNTY effectively ratified and condoned such conduct and, for

    that reason as well, is liable under 42 U.S.C. 1983 for the death of Gracia.

                                         COUNT II
                          42 U.S.C. 1983 CLAIM AS AGAINST BUCK

           70.     Plaintiffs hereby incorporate by reference paragraphs 1-53 of this Second

    Amended Complaint as though more fully set forth herein.

           71.     Defendant BUCK, a licensed medical doctor, at all times material served as

    the Medical Director of Corrections Health Services Department (CHS) which supervises

    inmate medical care at OCC/CHS. At all times material hereto, BUCK acted under color

    of state law in the course and scope of his employment or agency with ORANGE

    COUNTY and with deliberate indifference to the health and safety of Decedent.

           72.     At all times Gracia had an objectively serious medical need which was

    known to and recognized by BUCK in his individual capacity and as the supervisor of the

    other Individual Defendants.

           73.     Plaintiffs’ claim is brought pursuant to 42 U.S.C. 1983 and arises out of

    BUCK’s failure to provide proper supervision regarding adequate and proper medical

    evaluation, treatment and care to Gracia while a pretrial detainee at Orange County

    Corrections. Said failure to provide adequate and proper medical care was the result of a

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    deliberate indifference on the part of the Individual Defendants, including BUCK, who was

    the most senior and credentialed provider, with respect to the known medical condition and

    needs of Gracia, all of which resulted in his death on August 10, 2015.

             74.   Specifically, BUCK failed to adequately supervise the monitoring,

    evaluation and treating of Gracia, including the need for his transfer to a higher level of

    care facility. At all times material, Gracia was suffering from a serious dog bite injury

    coupled with infection, and who displayed signs of an obvious and visible deteriorating

    physical condition. As was fully known by BUCK, who originally assessed and admitted

    Gracia to the infirmary on August 6th, Gracia had a preexisting medical condition and

    serious disability which, as BUCK well knew, caused Gracia to suffer a compromised

    immune system while in the care and custody of BUCK and his medical staff. Upon

    information and belief, despite being in charge of Gracia’s case, BUCK made no review of

    the nursing treatment or progress notes nor did he ever visit or observe Gracia after his

    initial admission by BUCK to the infirmary on August 6, 2015. This abdication of

    responsibility by BUCK evinced a deliberate indifference to the risk of harm to Decedent,

    who remained at all times BUCK’s patient.

             75.   Plaintiffs’ claim under 42 U.S.C. 1983 arises out BUCK’s deliberate

    indifference to Gracia’s serious medical needs as set out in this Second Amended

    Complaint, which led to Decedent’s death. Such deliberate indifference to the health and

    safety of Gracia deprived him of rights guaranteed under the Due Process Clause of the

    Fourteenth Amendment of the United States Constitution which proximately caused his

    death.




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                                          COUNT III
                           42 U.S.C. 1983 CLAIM AS AGAINST EVANS

              76.   Plaintiffs hereby incorporate by reference paragraphs 1-11, 13, 17-23, 24,

    46-47, 50-52 and 69 of this Second Amended Complaint as though more fully set forth

    herein.

              77.   EVANS was at all times material an agent or employee of ORANGE

    COUNTY who worked at OCC/CHS as an Advanced Registered Nurse Practitioner. At all

    times material hereto, EVANS was responsible for providing medical and nursing care to

    inmates and detainees at OCC/CHS and acted under color of state law in the course and

    scope of her employment with ORANGE COUNTY and with deliberate indifference to the

    health and safety of Decedent.

              78.   At all times relevant hereto, Gracia had an objectively serious and known

    medical need.

              79.   Plaintiffs’ claim is brought pursuant to 42 U.S.C. 1983 and arises out of

    EVANS’ failure to provide adequate and proper medical evaluation, treatment and care to

    Gracia while a pretrial detainee at Orange County Corrections. Said failure to provide

    adequate and proper medical care was the result of a deliberate indifference on the part of

    EVANS as to the known medical condition and needs of Gracia which resulted in his death

    on August 10, 2015.

              80.   Specifically, EVANS failed to monitor, evaluate, treat and/or recommend

    transport of Gracia to a higher level of care facility. At all times material, Gracia was

    suffering from a serious dog bite injury coupled with infection, and who displayed signs of

    an obvious and visible deteriorating physical condition. As was fully known by EVANS at

    all times material, Gracia had a preexisting medical condition and serious disability which,


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    as EVANS knew, caused Gracia to suffer a compromised immune system while in the care

    and custody of EVANS.

            81.     Plaintiffs’ claim under 42 U.S.C. 1983 arises out EVANS’ deliberate

    indifference to Gracia’s serious medical needs as set out in this Second Amended

    Complaint, which led to his death. Such deliberate indifference to the health and safety of

    Gracia deprived him of rights guaranteed under the Due Process Clause of the Fourteenth

    Amendment of the United States Constitution which proximately caused his death.

                                         COUNT IV
                        42 U.S.C. 1983 CLAIM AS AGAINST CLAIRMONT

            82.     Plaintiffs hereby incorporate by reference paragraphs 1-11, 14, 17-23, 26,

    30-31, 34-40, 42-43, 50-51 and 69 of this Second Amended Complaint as though more

    fully set forth herein.

            83.     Defendant CLAIRMONT was at all times material an agent or employee of

    ORANGE COUNTY who worked at OCC/CHS as a licensed Registered Nurse. At all

    times material hereto, CLAIRMONT was responsible for providing medical and nursing

    care to inmates and detainees at OCC/CHS and acted under color of law in the course and

    scope of her employment or agency with ORANGE COUNTY and with deliberate

    indifference to the health and safety of Decedent.

            84.     At all times relevant hereto, Gracia had an objectively serious and known

    medical need.

            85.     Plaintiffs’ claim is brought pursuant to 42 U.S.C. 1983 and arises out of

    CLAIRMONT’s failure to provide adequate and proper medical evaluation, treatment and

    care to Gracia while a pretrial detainee at Orange County Corrections. Said failure to

    provide adequate and proper medical care was the result of a deliberate indifference on the


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    part of CLAIRMONT as to the known medical condition and needs of Gracia which

    resulted in his death on August 10, 2015.

            86.     Specifically, CLAIRMONT failed to monitor, evaluate, treat and/or

    recommend transport of Gracia to a higher level of care facility. At all times material,

    Gracia was suffering from a serious dog bite injury coupled with infection, and who

    displayed signs of an obvious and visible deteriorating physical condition. As was fully

    known by CLAIRMONT at all times material, Gracia had a preexisting medical condition

    and serious disability which, as CLAIRMONT well knew, caused Gracia to suffer a

    compromised immune system while in the care and custody of CLAIRMONT.

            87.     Plaintiffs’ claim under 42 U.S.C. 1983 arises out CLAIRMONT’s

    deliberate indifference to Gracia’s serious medical needs as set out in this Second Amended

    Complaint, which led to his death. Such deliberate indifference to the health and safety of

    Gracia deprived him of rights guaranteed under the Due Process Clause of the Fourteenth

    Amendment of the United States Constitution which proximately caused his death.

                                          COUNT VI
                          42 U.S.C. 1983 CLAIM AS AGAINST GONZALEZ

            88.     Plaintiffs hereby incorporate by reference paragraphs 1-11, 15, 17-23, 25,

    27-29, 32, 44-45, 50-51 and 69 of this Second Amended Complaint as though more fully

    set forth herein.

            89.     Defendant GONZALEZ was at all times material an agent or employee of

    ORANGE COUNTY who worked at OCC/CHS as a licensed Registered Nurse. At all

    times material hereto, GONZALEZ was responsible for providing medical and nursing

    care to inmates and detainees at OCC/CHS and acted under color of state law in the course




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    and scope of her employment with ORANGE COUNTY and with deliberate indifference

    to the health and safety of Decedent.

           90.      At all times relevant hereto, Gracia had an objectively serious and known

    medical need.

           91.      Plaintiffs’ claim is brought pursuant to 42 U.S.C. 1983 and arises out of

    GONZALEZ’ failure to provide adequate and proper medical evaluation, treatment and

    care to Gracia while a pretrial detainee at Orange County Corrections. Said failure to

    provide adequate and proper medical care was the result of a deliberate indifference on the

    part of GONZALEZ as to the known medical condition and needs of Gracia which resulted

    in his death on August 10, 2015.

           92.      Specifically, GONZALEZ failed to monitor, evaluate, treat and/or

    recommend transport of Gracia to a higher level of care facility. At all times material,

    Gracia was suffering from a serious dog bite injury coupled with infection, and who

    displayed signs of an obvious and visible deteriorating physical condition. As was fully

    known by GONZALEZ at all times material, Gracia had a preexisting medical condition

    and serious disability which, as GONZALEZ well knew, caused Gracia to suffer a

    compromised immune system while in the care and custody of GONZALEZ.

          93.       Plaintiffs’ claim under 42 U.S.C. 1983 arises out GONZALEZ’ deliberate

    indifference to Gracia’s serious medical needs as set out in this Second Amended

    Complaint, which led to his death. Such deliberate indifference to the health and safety of

    Gracia deprived him of rights guaranteed under the Due Process Clause of the Fourteenth

    Amendment of the United States Constitution and proximately caused his death.




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                                          COUNT VI
                          42 U.S.C. 1983 CLAIM AS AGAINST HARTER

          94.       Plaintiffs hereby incorporate by reference paragraphs 1–11, 16, 17–23, 33–

    34, 51 and 69 of the Second Amended Complaint as though more fully set forth herein.

          95.       Defendant HARTER was at all times material an agent or employee of

    ORANGE COUNTY who worked at OCC/CHS as a licensed Practical Nurse. At all times

    material hereto, HARTER was responsible for providing medical and nursing care to

    inmates and detainees at OCC/CHS and acted under color of state law in the course and

    scope of her employment with ORANGE COUNTY and with deliberate indifference to the

    health and safety of Decedent.

           96.      At all times relevant hereto, Gracia had an objectively serious and known

    medical need.

           97.      Plaintiffs’ claim is brought pursuant to 42 U.S.C. 1983 and arises out of

    HARTER’s failure to provide adequate and proper medical evaluation, treatment and care

    to Gracia while a pretrial detainee at Orange County Corrections. Said failure to provide

    adequate and proper medical care was the result of a deliberate indifference on the part of

    HARTER as to the known medical condition and needs of Gracia which resulted in his

    death on August 10, 2015.

           98.      Specifically, HARTER failed to monitor, evaluate, treat and/or recommend

    transport of Gracia to a higher level of care facility. At all times material, Gracia was

    suffering from a serious dog bite injury coupled with infection, and who displayed signs of

    an obvious and visible deteriorating physical condition. As was fully known by HARTER

    at all times material, Gracia had a preexisting medical condition and serious disability




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    which, as HARTER knew, caused Gracia to suffer a compromised immune system while

    in the care and custody of HARTER.

           99.     Plaintiffs’ claim under 42 U.S.C. 1983 arises out HARTER’s deliberate

    indifference to Gracia’s serious medical needs as set out in this Second Amended

    Complaint, which led to his death. Such deliberate indifference to the health and safety of

    Gracia deprived him of rights guaranteed under the Due Process Clause of the Fourteenth

    Amendment of the United States Constitution and proximately caused his death.

                            COUNT VII
          MEDICAL MALPRACTICE AGAINST DEFENDANT ORANGE COUNTY


            100.    Plaintiffs hereby incorporate by reference paragraphs 1–53 of this Second

    Amended Complaint as though more fully set forth herein.

            101.    While the Plaintiffs have alleged that the acts and omissions set forth herein

    constituted deliberate indifference in violation of Gracia’s constitutional rights, Plaintiffs

    alternatively plead that the conduct alleged herein constitutes at least ordinary negligence

    and medical malpractice under the laws of the State of Florida.

            102.    The conduct of the Individual Defendants EVANS, CLAIRMONT,

    GONZALEZ and HARTER breached the prevailing standard of care in the nursing

    community. Said Individual Defendants committed medical negligence by denying

    Decedent access to care and in failing to evaluate and treat him for sepsis, despite ample

    opportunity and evidence of this illness. A referral to a higher level of care should have

    occurred no later than the morning hours of August 9, 2015 when his vital signs

    deteriorated. A jail infirmary, even if well-staff and equipped, let alone a jail cell, is not the

    appropriate setting to treat an individual displaying symptoms of Gracia. This breach of



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    the standard of care was the proximate cause of Decedent's death. Had Decedent been

    afforded appropriate and reasonable medical care, he more likely than not would have

    survived.

            103.    Given the professional negligence of the Individual Defendants EVANS,

    CLAIRMONT, GONZALEZ and HARTER, all of whom were employed by ORANGE

    COUNTY and acting within the scope of said employment, ORANGE COUNTY is liable

    for such negligence under the doctrine of respondeat superior.

                                    PRAYER FOR RELIEF

            WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in

    in their favor as against Defendants named in each count, as follows:

            (A)     all actual, compensatory damages under Counts I through VII as authorized
                    by Florida’s Wrongful Death Act and 42 U.S.C. 1983;

             (B)     punitive damages against each of the Individual Defendants;

             (C)     pre-and post judgment interest as may be authorized by law;

             (D)     reasonable attorney’s fees and costs under Counts I through VI; and

             (E)     any such further relief as may be just and fair.

                                DEMAND FOR A TRIAL BY JURY

            Pursuant to Fed. R. Civ. P. 37, Plaintiffs hereby demand a trial by jury on all such

    issues so triable.

                                           _s/ Jason J. Recksiedler, Esquire
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                                          Attorneys for Plaintiffs




                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the

    Court and a true and correct copy of the foregoing has been furnished through the CM/ECF

    portal of the Middle District of Florida on this 18th day of January, 2018.




                                          /s/ Stephen J. Calvacca, Esquire
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